Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 1 of 78 Page ID #:19854
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 2 of 78 Page ID #:19855
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 3 of 78 Page ID #:19856
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 4 of 78 Page ID #:19857
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 5 of 78 Page ID #:19858
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 6 of 78 Page ID #:19859
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 7 of 78 Page ID #:19860
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 8 of 78 Page ID #:19861
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 9 of 78 Page ID #:19862
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 10 of 78 Page ID
                                #:19863
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 11 of 78 Page ID
                                #:19864
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 12 of 78 Page ID
                                #:19865
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 13 of 78 Page ID
                                #:19866
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 14 of 78 Page ID
                                #:19867
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 15 of 78 Page ID
                                #:19868
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 16 of 78 Page ID
                                #:19869
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 17 of 78 Page ID
                                #:19870
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 18 of 78 Page ID
                                #:19871
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 19 of 78 Page ID
                                #:19872
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 20 of 78 Page ID
                                #:19873
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 21 of 78 Page ID
                                #:19874
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 22 of 78 Page ID
                                #:19875
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 23 of 78 Page ID
                                #:19876
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 24 of 78 Page ID
                                #:19877
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 25 of 78 Page ID
                                #:19878
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 26 of 78 Page ID
                                #:19879
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 27 of 78 Page ID
                                #:19880
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 28 of 78 Page ID
                                #:19881
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 29 of 78 Page ID
                                #:19882
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 30 of 78 Page ID
                                #:19883
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 31 of 78 Page ID
                                #:19884
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 32 of 78 Page ID
                                #:19885
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 33 of 78 Page ID
                                #:19886
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 34 of 78 Page ID
                                #:19887
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 35 of 78 Page ID
                                #:19888
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 36 of 78 Page ID
                                #:19889
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 37 of 78 Page ID
                                #:19890
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 38 of 78 Page ID
                                #:19891
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 39 of 78 Page ID
                                #:19892
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 40 of 78 Page ID
                                #:19893
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 41 of 78 Page ID
                                #:19894
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 42 of 78 Page ID
                                #:19895
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 43 of 78 Page ID
                                #:19896
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 44 of 78 Page ID
                                #:19897
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 45 of 78 Page ID
                                #:19898
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 46 of 78 Page ID
                                #:19899
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 47 of 78 Page ID
                                #:19900
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 48 of 78 Page ID
                                #:19901
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 49 of 78 Page ID
                                #:19902
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 50 of 78 Page ID
                                #:19903
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 51 of 78 Page ID
                                #:19904
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 52 of 78 Page ID
                                #:19905
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 53 of 78 Page ID
                                #:19906
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 54 of 78 Page ID
                                #:19907
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 55 of 78 Page ID
                                #:19908
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 56 of 78 Page ID
                                #:19909
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 57 of 78 Page ID
                                #:19910
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 58 of 78 Page ID
                                #:19911
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 59 of 78 Page ID
                                #:19912
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 60 of 78 Page ID
                                #:19913
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 61 of 78 Page ID
                                #:19914
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 62 of 78 Page ID
                                #:19915
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 63 of 78 Page ID
                                #:19916
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 64 of 78 Page ID
                                #:19917
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 65 of 78 Page ID
                                #:19918
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 66 of 78 Page ID
                                #:19919
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 67 of 78 Page ID
                                #:19920
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 68 of 78 Page ID
                                #:19921
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 69 of 78 Page ID
                                #:19922
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 70 of 78 Page ID
                                #:19923
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 71 of 78 Page ID
                                #:19924
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 72 of 78 Page ID
                                #:19925
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 73 of 78 Page ID
                                #:19926
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 74 of 78 Page ID
                                #:19927
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 75 of 78 Page ID
                                #:19928
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 76 of 78 Page ID
                                #:19929
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 77 of 78 Page ID
                                #:19930
Case 2:15-cv-04424-AG-AJW Document 452 Filed 10/04/17 Page 78 of 78 Page ID
                                #:19931
